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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


                               Alexandria Division


 KENYA BROWN,


           Plaintiff,



  V.                                          Civil Action No. l:18-cv-186



 AKIMA, LLC,


           Defendant.




                                MEMORANDUM OPINION


           THIS MATTER comes before the Court on Defendant's Motion for


 Summary Judgement.

           This case arises from Plaintiff Kenya Brown's employment with

 Akima, LLC. Plaintiff is African American and began working for

 Akima as an independent contractor in November 2014. Akima offered

 Plaintiff full-time employment as an IT Solutions Analyst on or

 about May 18, 2015. Plaintiff was an at-will employee at Akima.

           Initially Plaintiff worked for Akima's Finance Department,

  with Scott Bohinc as her supervisor. Plaintiff was then transferred

 to    a    Akima's     IT   department       and   Navid   Falconer   became     her

 supervisor. Plaintiff frequently sent emails to Falconer but did

 not   receive     a    response   in     a    timely   manner.   Falconer      would

 eventually respond to her emails. Plaintiff received performance

 reviews in which her supervisors gave her positive reviews. She
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